        Case 6:12-cr-06179-CJS Document 51 Filed 04/12/22 Page 1 of 12




IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

              v.                                                12-CR-6179-CJS

ERIC A. CONTRERAS,

                                   Defendant.




       GOVERNMENT'S RESPONSE TO THE DEFENDANT’S MOTION
   FOR AN ORDER TO ENFORCE A COURT ORDER AND FOR RELEASE OR
        TRANSFER TO HOME CONFINMENT OR HALFWAY HOUSE

        The United States of America, by and through its attorney, Trini E. Ross, United

 States Attorney for the Western District of New York, Robert A. Marangola, Assistant

 United States Attorney, of counsel, respectfully files this response in opposition to the

 defendant’s motion (Dkt. 47) seeking an order to enforce a court order and for release or

 transfer to home confinement or halfway house.


                   PROCEDURAL HISTORY AND RELEVANT FACTS


       On January 4, 2013, the defendant, Eric A. Contreras, pled guilty to a one count

Information which charged conspiracy to possess with intent to distribute, and to distribute,

500 grams or more of cocaine in violation of Title 21, United States Code, Section 846. (Dkt.

16).


       On August 10, 2013, this Court sentenced the defendant to one hundred eighty-eight

(188) months imprisonment with four (4) years supervised release.          (Dkt. 24).    The
        Case 6:12-cr-06179-CJS Document 51 Filed 04/12/22 Page 2 of 12




defendant is currently incarcerated at FCI Safford, a low security federal correctional

institution in Safford, Arizona with a projected release date of November 28, 2025.


                                   LEGAL STANDARD


       While the defendant does not cite any statutory authority under which he filed his

motion, with regard to his request for immediate release, pursuant to 18 U.S.C. §

3582(c)(1)(A)(i), a district court may reduce a term of imprisonment only if a defendant can

show (1) he has met the statutory exhaustion requirement; (2) “extraordinary and compelling

reasons” warrant the reduction; (3) the defendant is not a danger to the safety of any other

person or to the community; and (4) the reduction is consistent with 18 U.S.C. § 3553(a) and

USSG. United States v. Lucas, No. 15-CR-143, 2020 WL 2059735, at *2 (W.D.N.Y. Apr. 29,

2020); see also USSG § 1B1.13 (the United States Sentencing Guidelines Policy Statement on

compassionate release).


       Per the application notes set forth at § 1B1.13, the following may be considered

extraordinary and compelling reasons:

       (A) Medical Condition of the Defendant.—

          (i) The defendant is suffering from a terminal illness (i.e., a serious and
          advanced illness with an end of life trajectory). A specific prognosis of life
          expectancy (i.e., a probability of death within a specific time period) is not
          required. Examples include metastatic solid-tumor cancer, amyotrophic
          lateral sclerosis (ALS), end-stage organ disease, and advanced dementia.

          (ii) The defendant is—

              (I)     suffering from a serious physical or medical condition,
              (II)    suffering from a serious functional or cognitive impairment, or
              (III)   experiencing deteriorating physical or mental health because of
                      the aging process,



                                              2
         Case 6:12-cr-06179-CJS Document 51 Filed 04/12/22 Page 3 of 12




           that substantially diminishes the ability of the defendant to provide self-care
           within the environment of a correctional facility and from which he or she
           is not expected to recover.

       (B) Age of the Defendant.—The defendant (i) is at least 65 years old; (ii) is
       experiencing a serious deterioration in physical or mental health because of the
       aging process; and (iii) has served at least 10 years or 75 percent of his or her
       term of imprisonment, whichever is less.

       (C) Family circumstances. -

           (i)    The death or incapacitation of the caregiver of the defendant’s
                  minor child or minor children.

           (ii)   The incapacitation of the defendant’s spouse or registered
                  partner when the defendant would be the only available
                  caregiver for the spouse or registered partner.

       (D) Other Reasons.—As determined by the Director of the Bureau of
       Prisons, there exists in the defendant’s case an extraordinary and
       compelling reason other than, or in combination with, the reasons
       described in subdivisions (A) through (C).

USSG § 1B1.13, comment. (n.1).


                                         ARGUMENT

       The defendant’s motion for an order to enforce a court order, and for release or transfer

to home confinement or halfway house, should be denied. To the extent that the defendant

intended to bring his motion under § 3582(c)(1)(A)(i), he has failed to meet his burden to

demonstrate that he has complied with the administrative exhaustion requirements which

serve as a necessary predicate to addressing the merits of the motion. However, even if he

had met the exhaustion requirements, the motion is insufficient. The defendant, while

claiming he is on an “at risk list,” he fails to elaborate or provide any detail that demonstrates

“extraordinary and compelling” reasons to alter or reduce his original sentence, or that his

release comports with the sentencing considerations set forth in 18 U.S.C. § 3553(a). (Dkt.

47 at 3). Finally, the defendant cites no authority, nor is the government aware of any
                                                3
         Case 6:12-cr-06179-CJS Document 51 Filed 04/12/22 Page 4 of 12




authority, that permits this Court to enforce a court order in another district, or to direct the

BOP to place the defendant in home confinement.


       A. The Defendant has not Exhausted his Administrative Remedies and any
          Application for Compassionate Release Must Therefore be Dismissed.

       The compassionate release statute, 18 U.S.C. § 3582(c)(1)(A), as amended by the First

Step Act on December 21, 2018, provides that:


       “the court, upon motion of the Director of the Bureau of Prisons, or upon
       motion of the defendant after the defendant has fully exhausted all
       administrative rights to appeal a failure of the Bureau of Prisons to bring a
       motion on the defendant’s behalf or the lapse of 30 days from the receipt of such
       a request by the warden of the defendant’s facility, whichever is earlier, may
       reduce the term of imprisonment (and may impose a term of probation or
       supervised release with or without conditions that does not exceed the unserved
       portion of the original term of imprisonment), after considering the factors set
       forth in section 3553(a) to the extent that they are applicable….”

       As the proponent of the motion, the defendant bears the burden of proving that he has

satisfied the procedural prerequisites of the statute in order to obtain judicial review – i.e. that

he has “exhausted all administrative rights to appeal a failure of the [BOP] to bring a motion

on his behalf” or that 30 days have lapsed “from the receipt of such a request by the warden.”

18 U.S.C. § 3582(c)(1)(A); see United States v. Butler, 970 F.2d 1017, 1026 (2d Cir. 1992) (“A

party with an affirmative goal and presumptive access to proof on a given issue normally has

the burden of proof as to that issue.”). In fact “[a]n inmate’s failure to exhaust administrative

remedies for a compassionate release request is a ‘glaring roadblock foreclosing

compassionate release.’” United States v. McAuley, No. 11-CR-6083-CJS, ECF No. 782 at 3

(W.D.N.Y. Apr. 29, 2020), quoting United States v. Raia, No. 20-1033, 2020 WL 1647922, at

*2 (3d Cir. Apr. 2, 2020); see also United States v. Grimes, No. 18-CR-6101-CJS, 2020 WL

2098106 (W.D.N.Y. May 1, 2020) (denying compassionate release motion for failure to

                                                 4
         Case 6:12-cr-06179-CJS Document 51 Filed 04/12/22 Page 5 of 12




exhaust administrative remedies); United States v. Siefert, No. 06-CR-6111-CJS, ECF No. 39

(W.D.N.Y. Apr. 20, 2020) (same).


        According to regional counsel handling the BOP facility at FCI Safford, there is no

record of the defendant filing any Administrative Requests for a Reduction in Sentence

(“RIS”). While it has recently been held that § 3582(c)(1)(A)’s exhaustion requirement is not

a jurisdictional limitation when waived by the government, here the government does not

waive any exhaustion requirement.         Accordingly, absent affirmative proof of a RIS

submission by the defendant, the government submits that the defendant has failed to

demonstrate exhaustion. See United States v. Saladino, No. 20-1563, 2021 WL 3376973, at *3

(2d Cir. Aug. 4, 2021) citing Hamer v. Neighborhood Hous. Servs., __ U.S. __, 138 S. Ct. 13, 17,

199 L.Ed.2d, 249, (2017) (“Not a jurisdictional limitation, § 3582(c)(1)(A)’s exhaustion

requirement is a ‘claim-processing rule[ ]’ and accordingly ‘may be waived or forfeited’ by the

government.”)


       B. Even if the Court Reached the Merits, a Sentence Reduction is Not Warranted.

       1. The Defendant’s Individual Health Concerns are Not So Extraordinary and Compelling as
          to Justify Early Release from the Bureau of Prisons.

       Presently, the CDC has identified certain medical conditions that, according to current

data, definitively entail a greater risk of severe illness when combined with COVID-19. This

list includes: (1) cancer; (2) chronic          kidney   disease; (3) COPD; (4) certain

immunocompromised states; (5) obesity (defined as a BMI above 30); (6) certain serious heart

conditions; (7) sickle cell disease; and (8) Type II diabetes. The defendant, at just 38 years

of age, claims BOP Health Services had him on an “at risk list” yet he fails to provide any

detail regarding his health risks. (Dkt. 47 at 3).

                                               5
         Case 6:12-cr-06179-CJS Document 51 Filed 04/12/22 Page 6 of 12




       According to his BOP Inmate Profile, the defendant is classified at the lowest required

care level: “Medical Care Level 1.” For context, there are four levels of medical care that

the BOP uses to distinguish the medical needs to each inmate. Level 4 inmates are the most

severely impaired requiring the highest level of care, while Level 1 inmates require the least

medical care. Inmates with Level 1 needs are those who are generally healthy, under 70

years of age, who have limited medical needs requiring clinician evaluation and monitoring.

       While not mentioned in his motion, the defendant’s BOP medical records 1 confirm

that he tested positive for COVID-19 on January 28, 2022. The defendant has failed to offer

any proof that he has developed any long-term complications from COVID-19, or that he

received inadequate treatment for his condition, or that he failed to fully recover. See United

States v. Ranieri, 2021 WL 210346 at *1 (W.D.N.Y. Jan. 21, 2021) (holding no compelling

reason for compassionate release where defendant contracted COVID-19 but recovered and

“was not seriously affected by the virus”); United States v. Campbell, 511 F. Supp. 3d 418, 419

(W.D.N.Y. Jan. 5, 2021) (finding defendant, who tested positive for the virus causing

COVID-19, fails to establish compelling and extraordinary reasons for a sentence reduction);

United States v. Curtiss, 467 F.Supp.3d 96, 98-99 (W.D.N.Y. 2020) (finding no extraordinary

and compelling reasons where defendant’s medical conditions “appear serious and present a

heightened risk for serious illness from COVID-19” but the defendant had already contracted

the virus and recovered); United States v. Hardy, 2020 WL 7711676, at *2 (S.D.N.Y. Dec. 29,

2020) (concluding that “[n]ow that [the defendant] has contracted and seemingly weathered

the disease, a sentence reduction based on the risk of contracting it no longer makes sense”);



1
 A copy of the BOP health records can be provided to the Court under separate cover if not
provided by the Unites States Probation Office.
                                              6
         Case 6:12-cr-06179-CJS Document 51 Filed 04/12/22 Page 7 of 12




see also United States v. Toole, 515 F. Supp. 3d 17, 18, (W.D.N.Y. Jan. 28, 2021) (finding “the

most important reason for denying [defendant’s] motion at this time is the fact that he

unfortunately tested positive for COVID-19”).

       Additionally, the defendant refused the Pfizer vaccine when it was offered to him on

January 7, 2021. By declining the vaccine, the defendant passed on the opportunity for “self-

care” that BOP has made available. For this reason, the motion should be denied. See, e.g.,

United States v. Baeza-Vargas, 2021 WL 1250349, at *2-3 (D. Ariz. Apr. 5, 2021) (Teilborg, J.)

(“Judges of this Court, as well as others around the country, have ruled with consistency that

an inmate’s denial of a COVID-19 vaccination weighs against a finding of extraordinary and

compelling circumstances.”) (citing more than a dozen cases).

       The defendant has failed to proffer anything to indicate that he falls into that narrow

band of inmates who are “suffering from a serious physical or medical condition,” or that he

is suffering from a “serious functional or cognitive impairment,” or that he is “experiencing

deteriorating physical or mental health because of the aging process, that substantially

diminishes the ability of the defendant to provide self-care within the environment of a

correctional facility and from which he or she is not expected to recover.”         See USSG

§ 1B1.13, comment. (n.1). Having failed to satisfy his burden of establishing extraordinary

and compelling health reasons, his claim must fail.


       2. The Conditions at Safford Do Not Justify the Defendant’s Release.


       The government acknowledges that the Safford facility has been impacted by COVID-

19. But neither BOP nor FCI Safford has sat idly by and allowed the virus to run rampant.

In fact, since the pandemic started, 479 inmates from FCI Safford have tested positive, were


                                                7
         Case 6:12-cr-06179-CJS Document 51 Filed 04/12/22 Page 8 of 12




medically      treated,     and      have         recovered     from     COVID-19.        See

https://www.bop.gov/coronavirus/ (last accessed April 8, 2022). As of April 8, 2022, there

are zero confirmed inmates currently positive with COVID-19. Id. The defendant makes no

allegation that the conditions at FCI Safford are placing him uniquely at risk, any more than

the risk he would face if released to the general public. As this Court has previously opined:

“’[t]he mere possibility of contracting a communicable disease such as COVID-19, without

any showing that the Bureau of Prisons will not or cannot guard against or treat such a

disease, does not constitute an extraordinary or compelling reason for a sentence reduction

under the statutory scheme.’” United States v. Ocasio, 16-CR-6047CJS, Document No. 108, at

7-8 (W.D.N.Y. May 22, 2020) (Siragusa, J.) (citing United States v. Korn, 2020 WL 1808213,

at *6-7 (W.D.N.Y. April 9, 2020)); United States v. Prather, 04-CR-6157CJS, Document No.

591 (W.D.N.Y. August 6, 2020) (Siragusa, J.).



       3. The 3553(a) Factors Weigh Against Release.


       For all of the reasons considered at sentencing, the defendant’s original sentence was

and remains appropriate, notwithstanding the pandemic. The nature and circumstances of

the defendant’s crimes are very serious. In his plea colloquy, the defendant admitted he did

knowingly, willfully, and unlawfully possess with intent to distribute, and distribute, 500

grams or more of cocaine, a Schedule II controlled substance. (Dkt. 16 at 3). Furthermore,

the defendant’s past “history and characteristics” do not provide support to his bid for early

release. His criminal history category when sentenced was a VI and the parties agreed at that

time that the defendant is a career offender. (Dkt. 16 at 5).



                                              8
         Case 6:12-cr-06179-CJS Document 51 Filed 04/12/22 Page 9 of 12




       A change in the defendant’s sentence now would seriously undermine the fairness and

purpose of the original prison sentence in this case. See United States v. Roney, 833 F. App’x

850, 854, (2d Cir. 2020) (“[C]ourts regularly consider whether compassionate release would

be consistent with § 3553(a) by considering how early release would impact the aims of the

original sentence.”); United States v. Ebbers, 432 F. Supp. 3d 421, 429–30 (S.D.N.Y. 2020) (the

task here is not to “second guess or to reconsider whether the original sentence was just,” but

to assess whether “the defendant’s circumstances are so changed . . . that it would be

inequitable to continue the confinement of the prisoner.”); United States v. Jones, 17 F.4th 371,

375 (2d Cir. 2021) (per curiam) (district courts are not required to rebalance the § 3553(a)

factors to consider the effect of the COVID-19 pandemic).


       4. This Court Has No Authority to Enforce a Court Order in Another District.

       The defendant has asked for an order enforcing an order issued by a district court judge

in the Central District of California (Dkt. 47 at 1-2). The defendant offers no statutory

authority to support his request for such relief, and therefore this Court has no authority to

act on his request for such relief in this forum.


       5. This Court Has No Authority to Direct the BOP to Place the Defendant in Home
          Confinement

       The defendant has asked that the remainder of his sentence be converted to home

confinement. This request should be denied because, as this Court is well aware, it has no

authority to direct BOP to place a defendant in home confinement. Rather, such designation

decisions are committed solely to BOP’s discretion.


       Once a sentence is imposed, BOP is solely responsible for determining an inmate’s

place of incarceration. See 18 U.S.C. § 3621(b); United States v. Pineyro, 112 F.3d 43, 45 (2d

                                                9
        Case 6:12-cr-06179-CJS Document 51 Filed 04/12/22 Page 10 of 12




Cir. 1997) (per curiam) (“[a]fter a defendant is sentenced, it falls to BOP, not the district judge,

to determine . . . a defendant’s place of confinement”); see also McKune v. Lile, 536 U.S. 24, 39

(2002) (plurality opinion) (“It is well settled that the decision where to house inmates is at the

core of prison administrators’ expertise.”). A court has no authority to designate a prisoner’s

place of incarceration. See Pineyro, 112 F.3d at 45 (“[w]hile [the] BOP may consider the

recommendation of the sentencing judge in determining the place of a confinement, the

district judge’s views are not controlling”).        Because the defendant’s request for home

confinement alters only the place of incarceration, not the actual term of incarceration, only

BOP may grant or deny his request.


       Moreover, there is no constitutional or statutory authority that allows the Court to

order home confinement. A prisoner has no constitutional right to confinement in any

particular place, including in his home. See Sandin v. Conner, 515 U.S. 472, 478 (1995) (“the

Due Process Clause did not itself create a liberty interest in prisoners to be free from intrastate

prison transfers.”); Meachum v. Fano, 427 U.S. 215 224 (1976) (“The conviction has

sufficiently extinguished the defendant’s liberty interest to empower the State to confine him

to any of its prisons.”).     Following the imposition of sentence, the Court has limited

jurisdiction to correct or modify that sentence absent specific circumstances enumerated by

Congress in 18 U.S.C. § 3582. United States v. Garcia, 606 F.3d 209, 212 n.5 (5th Cir. 2010)

(per curiam). Section 3582(c) contemplates only a reduction in sentence. See 18 U.S. C. §

3582(c). But the defendant’s request to serve the rest of his term in home confinement or

halfway house, as opposed to prison, works no reduction to his sentence.                     Home

confinement merely permits the inmate to serve out his imprisonment at home.                   The




                                                10
        Case 6:12-cr-06179-CJS Document 51 Filed 04/12/22 Page 11 of 12




defendant’s request for such relief therefore falls outside § 3582(c)’s limited grant of authority

to this Court to modify a sentence post-conviction.




                                        CONCLUSION

       For the reasons set forth above, the defendant’s motion for an order to enforce a court

order and for release or transfer to home confinement or halfway house should be denied.

DATED:         Rochester, New York
               April 12, 2022
                                                    Respectfully submitted,

                                                    TRINI E. ROSS
                                                    United States Attorney
                                                    Western District of New York

                                             BY:    s/ROBERT A. MARANGOLA
                                                    Assistant United States Attorney
                                                    United States Attorney=s Office
                                                    Western District of New York
                                                    100 State Street
                                                    Rochester, New York 14614
                                                    (585) 399-3980
                                                    Robert.Marangola@usdoj.gov




                                               11
        Case 6:12-cr-06179-CJS Document 51 Filed 04/12/22 Page 12 of 12




IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

              v.                                                  12-CR-6179-CJS

ERIC A. CONTRERAS,

                                    Defendant.


                          CERTIFICATE OF SERVICE BY MAIL

       I hereby certify that on April 12, 2022, I electronically filed the GOVERNMENT’S
RESPONSE TO MOTION FOR AN ORDER TO ENFORCE A COURT ORDER AND
FOR RELEASE OR TRANSFER TO HOME CONFINMENT OR HALFWAY HOUSE
with the Clerk of the District Court using its CM/ECF system.

        I hereby certify that I have mailed the foregoing, by the United States Postal Service, to
the following non-CM/ECF participant:

                             Eric A. Contreras, Reg. No. 57990-112
                                          FCI Safford
                                Federal Correctional Institution
                                         P.O. Box 9000
                                      Safford, AZ 85548

Dated: April 12, 2022
       Rochester, New York


                                                           s/Michelle McCreedy




                                              12
